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Warm Springs Reservation of Oregon




                                      UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

E.J.T., a minor, by and through his
Conservator, InTRUSTment Northwest, Inc.,
                                                       Civil No.: 3:20-cv-1990-JR
                         Plaintiff,
                                                       DECLARATION of Lucille Suppach-
         V.                                            Samson In Support of the Supplemental
                                                       Memorandum by Amicus Curiae The
JEFFERSON COUNTY, a public body;                       Confederated Tribes of the Warm Springs
TYLER W. ANDERSON, in his individual                   Reservation of Oregon
capacity; and ARJANG ARYANFARD, in
his individual capacity,

                         Defendants.


         I, Lucille Suppach-Samson, declare and say:

         1.        I am the Enrollment Officer for the Vital Statistics Department of The

Confederated Tribes of the Warm Springs Reservation of Oregon ("Tribe").




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         2.        The Tribe's Vital Statistics Department is responsible for maintaining all vital

statistics records for tribal members, including birth, death, and marriage certificates, related

court orders, social security information, and lineage information.

         3.        The Vital Statistics Department is also responsible for determining an applicant's

eligibility for enrollment as a tribal member, and for preparing enrollment documents for

submission to Tribal Council for the enrollment of new members.

         4.        The Tribe has exclusive authority to determine its own membership.

         5.        I have reviewed the records of the Vital Statistics Department with respect to

Plaintiff, as well as the records of his father, Andre Thomas. Andre Thomas is an enrolled

member of the Tribe.

         6.        Plaintiff is under eighteen years of age, is the biological child of a member of the

Tribe (Mr. Thomas), and is eligible for automatic enrollment with the Tribe. Plaintiff meets the

requirements for automatic enrollment because he has the required blood quantum, his father is

an enrolled member of the Tribe, and his father maintained a residence on the Reservation at the

time of his birth.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on September 26, 2022.



                                                                  Z4b,pp
                                                  Lu ille Suppach-Samson
                                                                                          rp,rvi,ecrir\-




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2022, I filed a true and correct copy of the

foregoing document with the Clerk of the Court for the United States District Court – District of

Oregon via the CM/ECF system. Participants in this case who are registered CM/ECF users will

be served by the CM/ECF system.

                                              BEST BEST & KRIEGER LLP

                                              s/ Josh Newton
                                              Josh Newton, Bar No. 983087
                                              Sarah Monkton, Bar No. 196018

                                              Of Attorneys for The Confederated Tribes of the
                                              Warm Springs Reservation of Oregon




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